Case1:08-cv-04555 Documentz Filed 08/12/2008 Page1of1 366

UNITED S'I`ATES DISTRICT COURT
NDRTHERN DISTRICT DF ILL[NOIS

Civil Cover Sheet

Pl“'“t'ff(s): uNITED STATES C)F AMERlCA D°f°"d“"t($)= LEC)BARDO RIOS
County of Residencc: County of Residence: US Outside mate oflL
Plaintil'f's Address: `Dcfendant’s Attorney:

1) AUSA Lcobardo Rios

2) Joseph M. Ferguson #18809-424

United States Attc>mey‘s Office Terre Haute - FCI

219 Som;h Dearborn Strcct P.O. Box 33

Suitc 500 Tcrre I-lautc, IN 47808

Chic:agc), IL 60604

Basis
of Jurisdiction: |:|l. U.S. Govemment Plaintii‘f' |:|3. Federal Question

(U.S. gov’t. not a party)

-2. U.S. Government Defendant |:|4. Diversity

C’itizenship of Principal Parties (Diversity Cases Only) 08_€\/4555
JUDGE CASTILLo
Plaintifi': MAG]STRATE `
JU GE NOLAN
Defenclaut: ___'---___._.____________
Origiu: -l. Uriginal Proceeding |:]5. Transferred Frum ()ther I]istrict
|:|2. Removed From State Court |:6. Multi])istrict Litlgation

|:|3. Remanded From Appellate Court 1:|'7. Appeal to District Judge from
Magistrate Judgment

|:|4. Reinstated or Reopened
Nature of Suit: 510 Muticm to vacate

CauseofActino: 23:2255 F l L E D

Jury Demand: l:\Yes E|Nn AUG 1 2 2008 T C
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